Case 2:18-cv-11273-MCA-LDW Document 2147 Filed 09/07/22 Page 1 of 2 PageID: 63322




                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY
                                   NEWARK VICINAGE

  OCCIDENTAL CHEMICAL CORPORATION,
                                                             Hon. Judge Madeline Cox Arleo
                               Plaintiff,                  Hon. Magistrate Judge Leda D. Wettre

      v.                                                   Civil Action No. 2:18-CV-11273 (MCA-
                                                                            LDW)
  21ST CENTURY FOX AMERICA, INC., et al.,

                             Defendants.


                           ORDER FOR ADMISSION PRO HAC VICE

           This matter having been brought before the Court by Joseph H. Blum for an Order

  allowing Steven D. Soden, Esq. and Dalton R. Mott, Esq. to appear and participate pro hac vice;

  and the Court having considered the moving papers; and there being no opposition to this

  application; and for good cause shown pursuant to Local Rule 101.1(c), United States District

  Court for the District of New Jersey;

           IT IS this ____         September
                      7th day of ________________, 2022, hereby

           ORDERED that Steven D. Soden Esq. and Dalton R. Mott, Esq. be permitted to

  appear pro hac vice in the above-captioned matter in the United States District Court for the

  District of New Jersey pursuant to Local Rule 101.1(c); provided, however, that all pleadings,

  briefs, and other papers filed with the Court shall be signed by Joseph H. Blum, who is a

  member in good standing with the Bar of the Supreme Court of New Jersey and the Bar of this

  Court, who shall be held responsible for said papers and for the conduct of the case, and

  who shall be present before the Court during all phases of this proceeding, unless expressly

  excused by the Court, as well as be held responsible for the conduct of the attorneys admitted

  pro hac vice pursuant to this Order; and it is further


                                                    1
  4893-8702-1870
Case 2:18-cv-11273-MCA-LDW Document 2147 Filed 09/07/22 Page 2 of 2 PageID: 63323




            ORDERED that, pursuant to L. Civ. R. 101.1(c)(2), Steven D. Soden, Esq. and Dalton R.

  Mott, Esq. shall each pay the annual fee to the New Jersey Lawyers’ Fund for Client

  Protection in accordance with New Jersey Court Rule 1:28-2 within twenty (20) days from

  the date of the entry of this Order, enclosing with payment a completed form PHV-15; and it is

  further

            ORDERED that, pursuant to L. Civ. R. 101.1(c)(3), Steven D. Soden, Esq. and Dalton R.

  Mott, Esq. shall each make a payment of $150.00 on admission, payable to the Clerk, United

  States District Court; and it is further

            ORDERED that Steven D. Soden, Esq. and Dalton R. Mott, Esq. shall be bound by the

  General and Admiralty Rules of the United States District Court for the District of New Jersey,

  including but not limited to the provision of Local Rule 103.1, Judicial Ethics and

  Professional Responsibility, and Local Rule 104.1, Discipline of Attorneys; and it is further

            ORDERED that, pursuant to L. Civ. R. 101.1(c)(4), Steven D. Soden, Esq. and Dalton R.

  Mott, Esq. shall be deemed to have agreed to take no fee in any tort case in excess of

  the New Jersey Court Contingency Fee Rule, Rule 1:21-7, as amended.



           September 7
  Dated: _________________, 2022                       ___________________________________
                                                           Hon. Leda Dunn Wettre, U.S.M.J.




               ** The Clerk of Court is directed to terminate the motion at ECF No. 2137.




                                                  2
  4893-8702-1870
